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                         UNITED STATES DISTRICT COURT

                                  DISTRICT OF MINNESOTA

James Irving Dale,                                 Civil File No. 18-cv-886 (DWF/DTS)

                     Plaintiff,

       vs.                                               NOTICE OF APPEARANCE

Tom Roy, et al.,

                     Defendants.

TO:    PLAINTIFF James Irving Dale, 1918 Park Avenue, Minneapolis, MN 55404.

       PLEASE TAKE NOTICE that the undersigned attorney enters her appearance as

counsel for State Defendants Tom Roy, Kathryn Halvorson, Nola Karow, Nanette

Larson, Michelle Jaeckels, Jeff Haffely, (first name unknown) Dahlen, David A. Paulson,

(first name unknown) Blanchard, and Heather Hanson. All pleadings, orders, notices,

and other documents should be directed to the undersigned.


Dated: July 18, 2018                        OFFICE OF THE ATTORNEY GENERAL
                                            State of Minnesota

                                            s/ Kathryn A. Fodness
                                            Kathryn A. Fodness
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                                            official and individual capacities
